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           IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA                          )       Case No. 2:21 CR 19
                                                  )
                                                  )
                                                  )
       v.                                         )
                                                  )
                                                  )
KALEB LEVICKY                                     )




                                ORDER OF COURT

                              16th
       AND NOW, to wit, this ________         February
                                      day of _______________ , 2021, it is hereby

ORDERED, ADJUDGED and DECREED that the Defendant’s Motion to Conduct Mental

Examination is GRANTED. The Defendant shall be permitted to be evaluated by a

psychologist via in person interview on February 25, 2021 at the Beaver County

Correctional Facility in conformity with the standards, practices and procedures of the

Beaver County Correctional Facility.



                                                   s/ J. Nicholas Ranjan
                                                  ______________________________
                                                  District Judge J. Nicholas Ranjan
